                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )       Criminal No. 3:11-00082
                                                  )       Judge Trauger
                                                  )
[6] CHANNIN ACE RANDOLPH                          )


                                           ORDER

       It is hereby ORDERED that this case is set for a change of plea hearing on Tuesday,

June 26, 2012, at 2:00 p.m.

       It is so ORDERED.

       ENTER this 21st day of June 2012.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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